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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                        Case No. 10-cr-26-PB

Robert Barish, et al.


                                O R D E R


     Defendant Lee Brown has moved to continue the trial

scheduled for December 1, 2010, citing a scheduling conflict with

the date of trial and the need for additional time to finalize

plea negotiations.     The government and co-defendants do not

object to a continuance of the trial date.

     Accordingly, for the above reasons and to allow the parties

time to properly prepare for trial, the court will continue the

trial from December 1, 2010 to February 1, 2011.             In agreeing to

continue the trial, the court finds pursuant to 18 U.S.C.A. §

3161(h)(7)(A) that for the above-stated reasons, the ends of

justice served in granting a continuance outweigh the best

interests of the public and the defendants in a speedy trial.
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      The November 22, 2010 final pretrial conference is continued

to January 18, 2011 at 2:00 p.m.

      No further continuances.

      SO ORDERED.

                                          /s/Paul Barbadoro
                                          Paul Barbadoro
                                          United States District Judge

November 12, 2010

cc:   Cathy Greene, Esq.
      Michael Iacopino, Esq.
      Richard Monteith, Jr., Esq.
      Douglas Miller, Esq.
      Jennifer Davis, AUSA
      United States Probation
      United States Marshal




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